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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

 

at BALTIMORE
IN RE: MICHAEL FELDER if
Case No. 13-22635
* Chapter 13
fe
Debtor *

DEBTOR'S AFFIDAVIT REQUESTING DISCHARGE

“FIN JOINT FILINGS, A SEPARATE AFFIDAVIT MUST BE COMPLETED BY
EACH DEBTOR IN ORDER TO BE ELIGIBLE FOR A DISCHARGH***

The Chapter 13 Trustee has filed a notice of completion in my case and Tam hereby requesting
that the Court issue a discharge. | testify under penalty of perjury to the following: (Complete all

sections and provide all required information.)

I. The re Faron creditors hold a a claim that is not cischarged under 11 U.S.C. “8 $23 OE) Or

toshone number ¢ of each such h creditor)

 

 

Ts

Lhave not received a discharge in a Chapter 7, 11 or 12 bankruptey case that was filed
within 4 years prior to the filing of this Chapter 13 Bankruptey.

3. [have not received a discharge in another Chapter 13 bankruptcy case that was filed within
2 years prior to the filing of this Chapter 13 bankruptcy.

4. AL | fo _ 1 did not have, either at the time of filing this bankruptcy or at the present time,
equity in excess of $125,000 if the case was filed before April 1, 2007, or $136,875 if the
case Was filed on or after April 1, 2007 and before April 1, 2010, or $146,450 for a case filed
on or alter April 1, 2010 and before April 1, 2013, or $155,675 if the case was Filed on or
after April 1, 2013 in the type of property described in 11 U.S.C, §522(p)(1) [generally the
debtor's homestead],

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B. _ There is not currently pending any proceeding in which | may be found guilty of a
felony of the kind described in 11 U.S.C. § $22(q)(1)(A) or Hable for a debt of the kind
described in 11 U.S.C. § 522¢g)(1(B).

5. COMPLETION OF INSTRUCTIONAL COURSE CONCERNING PERSONAL
FINANCIAL MANAGEMENT PURSUANT TO 11 U.S.C. § 1328()(1)

{Complete one of the following statements]

 

1, Michael Felder , the debtor in the above-styled
(printed name of debtor
case hereby certify that onO8/71598 | completed an instructional
(date)

course in personal financial management provided by Money Sharp Credit Counseling, Inc.
(Name of Provider)
by an approved personal financial management instruction provider.
im Official Form 23 was filed previously with the court; OR
_, A document attesting to my completion of the personal financial management
struction course is attached,
4, , the debtor in the above-styled
(printed name of debtor}
case, hereby certify that no personal financial management course is required

because: [check the appropriate box. ]

7 {am incapacitated or disabled, as defined in 11 U.S.C. § LOOCh 4),

"} Jam on active military duty in a military combat zone; or
ry I reside in a district in which the United States Trustee has determined that the

approved instructional courses are not adequate at this time to serve the additional
individuals who would otherwise be required to complete such courses,

(] CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS
PURSUANT TO 11 U.S.C § 1328(a)

{Complete one of the following statements]
1, Michael Felder , the debtor in the above-styled case,
(printed name of debtor}
hereby certify that I am not currently required, nor at any time during the period of this
bankruptcy have | been required, by a judicial or administrative order, or by statute, to pay a

domestic support obligation.

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we 7 , the debtor in the above-styled
(printed name of debtor)
case am required by judicial or administrative order, or by statute, to pay a domestic support
obligation as defined in 11 U.S.C. § 1OI(14A). (This refers to a debt owed to or recoverable
by a spouse, former spouse or child of the debtor or such child's parent, legal guardian or

responsible relative or a governmental unit in the nature of alimony, maintenance or

support.} The same and address of each holder of a domestic support obligation follows:

 

 

 

 

 

 

 

 

 

[check the appropriate box,]

| Thereby certify that all amounts payable under such order or such statute that
are due on or before the date of this affidavit (including amounts due before the
petition was filed, but only to the extent provided for by the plan} have been paid;
OF

I have executed, and the court has approved, a written waiver of discharge
pursuant to LE U.S.C. § 1328¢a).

My current address is:
§ Irving Place
Pikesville, MD 21208

 

The name and address of my most recent/current employer is:
Superior Field Service
8 Irving Place

Pikesville, MD 24208

 

 

 

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I declare under penalty of perjury that all of the above statements are true and correct to
the best of my knowledge, information, and belief, and that the Court may rely on the truth of
each statement in determining whether to grant me a discharge in this case. I further understand
that the court may revoke my discharge if such order of discharge was procured by fraud.

if ji JB A. PO 417
Signature of Debtor: Yiihe Fb ae LeAlgle il Date: g/ IF / 1g

 

 

NOTICE OF OPPORTUNITY TO OBJECT

Any objections to the accuracy of this affidavit must be filed within fourteen (14) days of
the date of service of this Affidavit. If no objection is filed, the Court will consider entering a
discharge order in this case without further notice or hearing.

CERTIFICATE OF SERVICE

I hereby certify that on the day of ,20_,] reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the Debtor’s Affidavit Requesting
Discharge will be served electronically by the Court’s CM/ECF system on the following:

Name of Trustee, Chapter 7/13 Ro bert #1 OLA pe
Name of Attorney
Name of Attorney

I hereby further certify that on the day of ,20_, a copy of the
Debtor’s Affidavit Requesting Discharge was also mailed first class mail, postage prepaid to:

Name of Party TA¥erpal Lenewue. Ort
Address of Party a a etal AS Aa Eetepteg Serv Les
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bebtimonre, MD pIBOL

Name of Party Sti nee £5 Ahrah dita + E=7fa. Te a Norn tes bd ASrechars
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Name of Party Me 4 OX HC sa
Address of Party [2 pit rh Sink
City, State Zip be { t

6 sce fur Wwe "MD 2 +120 ‘Signature f. dim Pct Lee

[Type or print your name]

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NOTE: The Certificate of Service must comply with Local Bankruptcy Rule 7005-2(2).

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